                     Case 3:19-cr-00120-CRB                     Document 45         Filed 12/17/21          Page 1 of 7

  AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case


                                     UNITED STATES DISTRICT COURT
                                              Northern District of California
             UNITED STATES OF AMERICA                                  ) JUDGMENT IN A CRIMINAL CASE
                          v.                                           )
                   Ricci Lee Wynne                                     )    USDC Case Number: CR-19-00120-001 CRB
                                                                       )    BOP Case Number: DCAN319CR00120-001
                                                                       )    USM Number: 25496-111
                                                                       )    Defendant’s Attorney: Gail R. Shifman (Appointed)


  THE DEFENDANT:
       pleaded guilty to counts: One and Two of the Indictment
       pleaded nolo contendere to count(s): __________ which was accepted by the court.
       was found guilty on count(s): __________ after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:
   Title & Section                Nature of Offense                                                         Offense Ended           Count
   18 U.S.C. § 922(g)(1)          Felon in Possession of a Firearm and Ammunition                               01/10/2019            1
   21 U.S.C. §§ 841(a)(1) and     Possession with Intent to Distribute Cocaine                                  01/10/2019            2
   (b)(1)(C)

  The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.

         The defendant has been found not guilty on count(s): __________
         Count(s) __________ is/are dismissed on the motion of the United States.

       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           12/15/2021
                                                                           Date of Imposition of Judgment


                                                                           Signature of Judge
                                                                           The Honorable Charles R. Breyer
                                                                           Senior United States District Judge
                                                                           Name & Title of Judge

                                                                           Date.     December 17, 2021
                                                                           Date
                   Case 3:19-cr-00120-CRB                     Document 45       Filed 12/17/21        Page 2 of 7

AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case
DEFENDANT: Ricci Lee Wynne                                                                                    Judgment - Page 2 of 7
CASE NUMBER: CR-19-00120-001 CRB

                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        Time served.

The appearance bond is hereby exonerated, or upon surrender of the defendant as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Affidavit of Owner of Cash Security form on file in the Clerk's Office.

       The Court makes the following recommendations to the Bureau of Prisons:

       The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
               at __________ am/pm on ____________ (no later than 2:00 pm).

               as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               at __________ am/pm on ____________ (no later than 2:00 pm).

               as notified by the United States Marshal.

               as notified by the Probation or Pretrial Services Office.




                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on ______________________________ to _______________________________________ at
         ________________________________________ , with a certified copy of this judgment.




                                                                                       UNITED STATES MARSHAL

                                                                  By
                                                                                 DEPUTY UNITED STATES MARSHAL
                   Case 3:19-cr-00120-CRB                     Document 45     Filed 12/17/21         Page 3 of 7

AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case
DEFENDANT: Ricci Lee Wynne                                                                                   Judgment - Page 3 of 7
CASE NUMBER: CR-19-00120-001 CRB

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: Three years

                                     MANDATORY CONDITIONS OF SUPERVISION

 1)    You must not commit another federal, state or local crime.
 2)    You must not unlawfully possess a controlled substance.
 3)    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
       from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                    future substance abuse. (check if applicable)
 4)         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution. (check if applicable)
 5)         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6)         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7)         You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
                   Case 3:19-cr-00120-CRB                     Document 45       Filed 12/17/21          Page 4 of 7

AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case
DEFENDANT: Ricci Lee Wynne                                                                                      Judgment - Page 4 of 7
CASE NUMBER: CR-19-00120-001 CRB

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
         RELEASE, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2)       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
         and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
         from the court or the probation officer.
4)       You must follow the instructions of the probation officer related to the conditions of supervision.
5)       You must answer truthfully the questions asked by your probation officer.
6)       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with, for example), you must notify the probation officer at least 10 days
         before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
         notify the probation officer within 72 hours of becoming aware of a change or expected change.
7)       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
         officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
         view.
8)       You must work at least part-time (defined as 20 hours per week) at a lawful type of employment unless excused from doing
         so by the probation officer for schooling, training, community service or other acceptable activities. If you plan to change
         where you work or anything about your work (such as your position or your job responsibilities), you must notify the
         probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
         possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
         change or expected change.
9)       You must not communicate or interact with someone you know is engaged in criminal activity. You must not associate,
         communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
         probation officer.
10)      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
11)      You must not act as a confidential informant without first notifying the probation officer.
12)      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
         that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
         nunchakus or tasers).


         If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
         person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
         that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.



 (Signed)
              Defendant                                                         Date


              U.S. Probation Officer/Designated Witness                         Date
                   Case 3:19-cr-00120-CRB                     Document 45   Filed 12/17/21   Page 5 of 7

AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case
DEFENDANT: Ricci Lee Wynne                                                                        Judgment - Page 5 of 7
CASE NUMBER: CR-19-00120-001 CRB

                                         SPECIAL CONDITIONS OF SUPERVISION



1.       You must pay any special assessment that is imposed by this judgment and that remains unpaid at the
         commencement of the term of supervised release.

2.       You must participate in vocational training as directed by the Probation Officer.

3.       You must participate in a mental health treatment program, as directed by the probation officer. You are
         to pay part or all cost of this treatment, at an amount not to exceed the cost of treatment, as deemed
         appropriate by the probation officer. Payments must never exceed the total cost of mental health
         counseling. The actual co-payment schedule must be determined by the probation officer.

4.       You must submit your person, residence, office, vehicle, electronic devices and their data (including cell
         phones, computers, and electronic storage media), or any property under your control to a search. Such a
         search must be conducted by a United States Probation Officer or any federal, state or local law
         enforcement officer at any time with or without suspicion. Failure to submit to such a search may be
         grounds for revocation. You must warn any residents that the premises may be subject to searches.

5.       You must participate in a program of testing and treatment for drug abuse, as directed by the probation
         officer, until such time as you are released from treatment by the probation officer. You are to pay part or
         all of the cost of this treatment, at an amount not to exceed the cost of treatment, as deemed appropriate
         by the probation officer. Payments must never exceed the total cost of urinalysis and counseling. The
         actual co-payment schedule must be determined by the probation officer.
                      Case 3:19-cr-00120-CRB                        Document 45                Filed 12/17/21               Page 6 of 7

AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case
DEFENDANT: Ricci Lee Wynne                                                                                                           Judgment - Page 6 of 7
CASE NUMBER: CR-19-00120-001 CRB

                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                    Assessment                       Fine                    Restitution                 AVAA                     JVTA
                                                                                                                       Assessment*             Assessment**
   TOTALS                                $200                       Waived                        N/A                      N/A                      N/A

        The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.
        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
 Name of Payee                                        Total Loss                       Restitution Ordered                     Priority or Percentage




 TOTALS                                                  $ 0.00                                   $ 0.00


        Restitution amount ordered pursuant to plea agreement $ __________
        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
        before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
        may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                 the interest requirement is waived for the fine/restitution.
                 the interest requirement is waived for the fine/restitution is modified as follows:
                 __________




* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
                       Case 3:19-cr-00120-CRB                           Document 45                 Filed 12/17/21               Page 7 of 7

AO 245B (Rev. AO 09/19-CAN 12/19) Judgment in Criminal Case
DEFENDANT: Ricci Lee Wynne                                                                                                                 Judgment - Page 7 of 7
CASE NUMBER: CR-19-00120-001 CRB

                                                             SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A              Lump sum payment of _____________________ due immediately, balance due

                         not later than __________ , or
                         in accordance with        C,                 D, or          E, and/or             F below); or
 B              Payment to begin immediately (may be combined with                           C,          D, or       F below); or
 C              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
                __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

 D              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
                __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or
 E              Payment during the term of supervised release will commence within __________ (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F              Special instructions regarding the payment of criminal monetary penalties:
                Criminal monetary payments, $200 special assessment, shall be made to the Clerk of U.S. District Court, 450
                Golden Gate Ave., Box 36060, San Francisco, CA 94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

     Joint and Several

 Case Number                                                     Total Amount              Joint and Several                     Corresponding Payee,
 Defendant and Co-Defendant Names                                                              Amount                               if appropriate
 (including defendant number)




         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s): __________

         The defendant shall forfeit the defendant’s interest in the following property to the United States:
             a) One Glock 9mm Model 19 semiautomatic pistol bearing serial number PLB030;
             b) All ammunition seized with or in the above firearm, including approximately 12 rounds of Winchester 9mm
                   ammunition; and
             c) $6,185 in U.S. currency seized on the defendant’s person on January 10, 2019
         The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all
         or part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
         defendant’s responsibility for the full amount of the restitution ordered.




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
